      Case 2:24-cv-06615-SVW-SHK                                Document 1               Filed 07/29/24          Page 1 of 8 Page ID #:1
- -        NLFREDO GARIBAY                                                                 F~~ I~V~
          NAME

           #20510-085                                                                                                  FILED
                                                                                                             CLERK U.S. DISTRICT COURT
          PRISON IDENTIFICATIONBOOKING NO.

           FCI Lompoc II 3901 Klein ~Ivd.Lompoc, LA.                                                                ~ 2 9 ~4
          ADDRESS OR PLACE OF CONFINEMENT
                                                                    83436
                                                                                                          CENTRA       ISTRICT OF CALIF!i~,;~ :t~.
          Note:       If represented by an attorney, provide name, address, &telephone                    BY                          ~tF ~" ~Y
                      number. It is your responsibility to notify the Clerk oJCourT in
                      writing ofany change oJaddress.


                                                          U1vITED STATES DISTRICT COURT
                                                         CENTRAL DISTRICT OF CALIFORNIA

                                                                                          CASE NUMBER:
           NLFREDO GARIBAY                                                                  cv 2:24-C-v-o~6(S -Sv w -Sr-[K
         FULL NAME(Include name under which you were convicted)                                  To be supplied by the Clerk ofthe United States Disfict Court

                                                                           Petitioner,
                                                                                            CR
                                                                                                 Criminal case under which sentence was imposed.

                                               V.


           FCI Lompoc II / B. Birkholz                                                    PETITION FOR WRIT OF HABEAS CORPUS BY
                                                                                               A PERSON IN FEDERAL CUSTODY
         NAME OF WARDEN,(or other authorized person having custody of
         petitioner)                                                                                 (28 U.S.C. § 2241)
                                                                        Respondent.


                                                            INSTRUCTIONS -READ CAREFULLY

      This petition shall be legibly handwritten or typewritten and signed by the petitioner under penalty
                                                                                                           of perjury. You must set
      forth CONCISELY the answer to each question in the .proper space on the form. Any false
                                                                                                       statement of a material fact
      may serve as the basis for prosecution and conviction for perjury.

      You must not attach separate pages to this petition except that ONE separate additional page is
                                                                                                      permitted in answering
      Question No. 9.

      Upon receipt of a fee of $5.00, your petition will be filed if it is in proper order.

      If you are seeking leave to proceed informa pauperis (without paying the $5.00 filing fee and other
                                                                                                               court costs), then you
      must also execute the declaration on the last page, setting forth information that establishes your
                                                                                                            inability to pay the fees
      and costs of the proceedings or to give security therefor. If you wish to proceed in forma
                                                                                                        pauperis, you must have
      an authorized officer at the penal institution complete the certificate as to the amount ofmoney and
                                                                                                           securities on deposit to
      your credit in any account in the institution. If your prison account exceeds $25.00, you must pay
                                                                                                          the filing fee as required
      by the rule of the disfict court.

      When the petition is completed, the original and 3 copies must be mailed to the Clerk of the
                                                                                                   United States District Court
      for the Central District of California, Edward R. Roybal Federal Building & U.S.
                                                                                               Courthouse, 255 East Temple
      Street, Suite TS-134, Los Angeles, California 90012, ATTENTION: Intake/Docket Section.

      Only one sentence, conviction, or parole matter maybe challenged in a single petition. If you
                                                                                                    challenge more than one, you
      must do so by separate petitions.

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  PLEASE COMPLETE THE FOLLOWING:(Check appropriate number)

     This petition concerns:
      1. ❑ a conviction.
     2. ❑ a sentence.
     3. ❑jail or prison conditions.
     4. ❑prison discipline.
     S. ~arole problem.
     6. other.

                                                         PETITION

 1. Place of detention                                     3a~1 ILI~.~nvlv~l~                              C~•~3~13(~
 2. Name and location of court that imposed sentence



 3. The indictment number or numbers (if known)upon which, and the offense or offenses for which, sentence was
    imposed:
    a.
     b.
     c.

 4. The date upon which sentence was imposed and the terms of the sentence:
     a.
     b.
    c.

5. Check whether a finding of guilty was made:
   a. O After a plea of guilty
   b. D After a plea of not guilty
   c. ❑ After a plea of nolo contendere

6. If you were found guilty after a plea of not guilty, check whether that finding was made by:
   a. ❑ a jury
   b. ❑ a judge without a jury

7. Did you appeal from the judgment of convicrion or the imposition of sentence? ❑Yes           D No

8. If you did appeal, give the following information for each appeal:

    CAUTION: Ifyou are attacking a sentence imposed under afederaljudgment, you mustfirstfile a direct appeal or
             motion under 28 U.S.C.§2255 in thefederal court that entered thejudgment.

    a. (1) Name of court
          (2)Result
          (3)Date of result
          (4)Citation or number of opinion


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           (5) Grounds raised (list each):
               (a)
                ~)
               (c)
               (d)

      b. (1) Nan
         (2) Resi
         (3) DatE
         (4) Cita
         (5) Grounds raised (list each):
               (a)
               (b)
               (c)
               (d)


 9. State CONCISELY every ground on which you claim that you are being held unlawfully. Summarize briefly the
    facts supporting each ground. If necessary, attach a SINGLE page only behind this page.

     CAUTION: Ifyoufail to setforth all grounds in this petition, you may be barredfrom presenting additional
              grounds at a later date. You must statefacts, not conclusions, in support ofyour grounds. A rule of
              thumb tofollow: state WHO did exactly WHAT to violate your rights at WHAT time and place.

     a. Ground one: The removal of FSA time credits that had been proper Iy awarded
          and applied to his release date.

         Supporting FACTS (tell your story BRIEFLY without citing cases or law): The remova 1 of FSA ti me-
          credits and then the subsequent refusal to reinstate them upon Petitioner's
          request, violated his right to Due process under the Fifth Amendment because the
          wrongful interpretation of the Statute, these manipulations has resulted in a
          l onger incarceration by the BOP and has prevented his earlier reliese.


    b. Ground two:


         Supporting FACTS (tell your story BRI       LY without citing cases or law):




CV-27(OS/18)         pETTTION FOR WRIT OF HABEAS CORPUS BY A PERSON IN F'EDERAI. CUSTODY(28 U.S.0 § 2241)
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       C.




 10. Have you filed previous petitions for habeas corpus, motions under Section 2255 of Title 28,
                                                                                                  United States Code, or
     any other applications, petitions, or motions with respect to this conviction? ❑Yes O No

 1 1. If your answer to Question No. 10 was yes, give the following information:
     a. (1) Name of Court
        (2) Nature of proceeding
        (3) Grounds raised




        (4) Result
        (5) Date of result
       (6) Citation or number of any~ritten opinions or orders entered pursuant to each dispositio
                                                                                                  n.




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  PLEASE COMPLETE THE FOLLOWING:(Check appropriate number)

      This petition concerns:
       1. ❑ a conviction.
      2. ❑ a sentence.
      3. ❑jail or prison conditions.
      4. ❑prison discipline.
      5. ❑parole problem.
      6. Ldp other.

                                                           PETITION

  1. Place of detention ~(~~ ~          01'lIti~OC _~
                                                    1, T  , 3q~ I IL~~~ ~               U~.                    C~~ ~t3~ 3(~
 2. Name and location of court that imposed sentence



 3. The indictment number or numbers (if known)upon which, and the offense or offenses for which, sentence
                                                                                                           was
    imposed:
    a.
     b.
     c.

 4. The date upon which sentence was imposed and the terms of the sentence:
     a.
     b.
     c.

5. Check whether a finding of guilty was made:
   a. D After a plea of guilty
   b. ❑ After a plea ofnot guilty
   c. O After a plea of polo contendere

6. If you were found guilty after a plea of not guilty, check whether that finding was made by:
   a. ❑ a jury
   b. ❑ a judge without a jury

7. Did you appeal from the judgment of conviction or the imposition of sentence? ❑Yes           ❑ No

8. If you did appeal, give the following information for each appeal:

    CAUTION: Ifyou are attacking a sentence imposed under afederaljudgment, you mustfirstfile a direct
                                                                                                       appeal or
             motion under 28 U.S.C. §2255 in thefederal co~{rt that entered thejudgment.

    a. (1)Name of court
          (2) Result
          (3) Date of result
          (4)Citation or number of opinion


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       b. (1) Name of Court
           (2) Nature of proceeding
          (3) Grounds raised




          (4) Result
          (5) Date ofresult
          (6) Citation or number of any written opinions or orders            pwsuant to each disposition.




  12. If you did not file a motion under Secrion 2255 of Title 28, United States Code, or if you filed such a
                                                                                                              motion and it
      was denied, state why your remedy by way of such m tion is inadequate or ineffective to test the legality
                                                                                                                 of your
      detention:                                       _. /'
                                                      /v




 13. Are you presently represented by counsel? ❑Yes ~No
     Ifso, provide name, address, and telephone number


     Case name and court




14. If you are seeking leave to pro eed informa pauperis, have you completed the declaration setting forth
                                                                                                           the required
    information?     ❑Yes          No


     WHEREFORE,petitioner prays that the court grant petitioner relief to which he may be entitled in this proceeding
                                                                                                                          ,



                                                                                  Signahsre ofAttorney (ifany)

    I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct.


    Executed on duly, 24th, 2024
                              Date                                                    Signature ofPetitioner



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